                                DECISION
This matter is before the court on its own motion to dismiss this case for want of prosecution.
A case management conference was scheduled on October 21, 2008, to consider Plaintiff's appeal. On October 7, 2008, notice of the case management conference was sent to Plaintiff at 5418 SE Mitchell Street, Portland OR 97206, which was the address Plaintiff provided to the court. The notice was not returned as undeliverable. Plaintiff did not appear at the case management conference, and there was no explanation for Plaintiff's failure to appear.
On October 21, 2008, the court sent Plaintiff a letter, which explained the importance of diligently pursuing an appeal. That letter was not returned as undeliverable. The letter advised that if Plaintiff did not provide a written explanation by November 5, 2008, for her failure to appear, the court would dismiss the appeal. As of this date, Plaintiff has not contacted the court. *Page 2 
Under such circumstances, the court finds the appeal must be dismissed for want of prosecution. Now, therefore,
IT IS THE DECISION OF THIS COURT that this matter is dismissed.
Dated this ___ day of November 2008.
If you want to appeal this Decision, file a Complaint in the RegularDivision of the Oregon Tax Court, by mailing to: 1163 State Street,Salem, OR 97301-2563; or by hand delivery to: Fourth Floor, 1241 StateStreet, Salem, OR.
 Your Complaint must be submitted within 60 days after the date of theDecision or this Decision becomes final and cannot be changed.
 This document was signed by Magistrate Jeffrey S. Mattson on November7, 2008. The Court filed and entered this document on November 7,2008. *Page 1 